Case 0:20-cv-62298-RAR Document 27 Entered on FLSD Docket 05/31/2022 Page 1 of 2


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-62298-RAR

  MICHELLE MENDEZ,

         Plaintiff,

  v.

  KILOLO KIJAKAZI,
  Acting Commissioner of Social Security,

        Defendant.
  __________________________________________/

       ORDER AFFIRMING AND ADOPTING REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court upon United States Magistrate Judge Jared M.

  Strauss’s Report and Recommendation [ECF No. 25] (“Report”), entered on May 13, 2022.           The

  Report recommends that Plaintiff’s Motion for Summary Judgment, [ECF No. 17], be DENIED

  and Defendant’s Motion for Summary Judgment, [ECF No. 20], be GRANTED.                Plaintiff filed

  objections to the Report on May 27, 2022, [ECF No. 26] (“Objections”).

         When a magistrate judge’s “disposition” has been properly objected to, district courts must

  review the disposition de novo.     FED. R. CIV. P. 72(b)(3).      Because Plaintiff timely filed

  objections to the Report, the Court has conducted a de novo review of Magistrate Judge Jared M.

  Strauss’s legal and factual findings.

         Having carefully reviewed the parties’ pleadings [ECF Nos. 17, 20, 21, 24], the Report, the

  Objections, the factual record, the applicable law, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      The Report [ECF No. 25] is AFFIRMED AND ADOPTED.

         2.      Plaintiff’s Motion for Summary Judgment [ECF No. 17] is DENIED.

         3.      Defendant’s Motion for Summary Judgment [ECF No. 20] is GRANTED.
Case 0:20-cv-62298-RAR Document 27 Entered on FLSD Docket 05/31/2022 Page 2 of 2


         4.     Final judgment will be entered via separate order pursuant to Rule 58 of the Federal

  Rules of Civil Procedure.

         5.     The Clerk is directed to CLOSE the case.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 31st day of May, 2022.




                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE




                                           Page 2 of 2
